            Case 1:21-cr-00023-JLT-SKO Document 55 Filed 04/14/21 Page 1 of 5


 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 DAVID L. GAPPA
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5
   Attorneys for Plaintiff
 6 United States of America

 7
                                    IN THE UNITED STATES DISTRICT COURT
 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA                            CASE NO. 1:21-CR-00023 NONE-SKO
11                                  Plaintiff,           STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                             v.                        FINDINGS AND ORDER
13   JATIN BHAKTA                                        PROPOSED DATE: August 18, 2021
     ROY DREES                                           TIME: 1:00 p.m.
14                                                       COURT: Hon. Sheila K. Oberto
                                    Defendants.
15

16
             This case is scheduled for a status conference on April 21, 2021, but the parties have agreed to
17
     move this hearing to August 18, 2021. This Court has issued General Orders 611-630 to address public
18
     health concerns related to COVID-19, including the temporary suspension of jury trials and restrictions
19
     on access to court buildings. Initially the Fresno courthouse was closed through June 15, 2020, but it
20
     has since been closed until further notice.
21
             Although the General Orders address district-wide health concerns, the Supreme Court has
22
     emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive open-
23
     endedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case. Zedner
24
     v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no
25
     exclusion under” § 3161(h)(7)(A). Id. at 507. And moreover, any such failure cannot be harmless. Id.
26
     at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a
27
     judge ordering and ends-of-justice continuance must set forth explicit findings on the record “either
28
     orally or in writing”).

       STIPULATION REGARDING EXCLUDABLE TIME              1
30     PERIODS UNDER SPEEDY TRIAL ACT
            Case 1:21-cr-00023-JLT-SKO Document 55 Filed 04/14/21 Page 2 of 5


 1          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 2 and inexcusable—the General Order requires specific supplementation. Ends-of-justice continuances

 3 are excludable only if “the judge granted such continuance on the basis of his findings that the ends of

 4 justice served by taking such action outweigh the best interest of the public and the defendant in a

 5 speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets

 6 forth, in the record of the case, either orally or in writing, its reason or finding that the ends of justice

 7 served by the granting of such continuance outweigh the best interests of the public and the defendant in

 8 a speedy trial.” Id.

 9          The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7). Although

10 the Speedy Trial Act does not directly address continuances stemming from pandemics, natural

11 disasters, or other emergencies, this Court has discretion to order a continuance in such circumstances.

12 For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance following Mt. St.

13 Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court recognized that the

14 eruption made it impossible for the trial to proceed. Id. at 767-68; see also United States v. Correa, 182

15 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the September 11, 2001

16 terrorist attacks and the resultant public emergency). The coronavirus is posing a similar, albeit more

17 enduring, barrier to the prompt proceedings mandated by the statutory rules.

18          In light of the societal context created by the foregoing, this Court should consider the following

19 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

20 justice exception, § 3161(h)(7). When continued, this Court should designate a new date for the hearing.
21 United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any pretrial continuance must be

22 “specifically limited in time”).

23                                                 STIPULATION

24          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

25 through defense counsel of record, accordingly stipulate as follows:

26          1.      By previous order this matter was set for a status conference hearing on April 21, 2021.

27 The Court more recently has invited a continuance of this hearing if counsel do not believe that anything

28 substantial can be accomplished at the currently scheduled hearing.

      STIPULATION REGARDING EXCLUDABLE TIME                2
30    PERIODS UNDER SPEEDY TRIAL ACT
           Case 1:21-cr-00023-JLT-SKO Document 55 Filed 04/14/21 Page 3 of 5


 1          2.     By this stipulation, the parties agree that the next status conference be scheduled for

 2 August 18, 2021, and to exclude time between April 21, 2021, and August 18, 2021, under 18 U.S.C. §§

 3 3161(h)(7)(A) and 3161(h)(7)(B)(i), (ii) and (iv).

 4          3.     The parties agree, and request that the Court find the following:

 5                 a)      Counsel for defendants desire additional time to consult with their clients, to

 6          review the current charge and conduct additional investigation and research related to the charge,

 7          to discuss potential resolutions with their clients, and to evaluate and potentially prepare pretrial

 8          motions. In part this is because the government has continued its investigation of the crimes, the

 9          government has provided supplemental discovery, and counsel and the defendants will benefit

10          from additional time to consider this new material.

11                 b)      Counsel for defendants believe that failure to grant the above-requested

12          continuance would deny them the reasonable time necessary for effective preparation, taking into

13          account the exercise of due diligence.

14                 c)      The government does not object to the continuance and joins in the request.

15                 d)      In addition to the public health concerns cited by General Orders 611-630 and

16          presented by the evolving COVID-19 pandemic, an ends-of-justice delay is particularly apt in

17          this case because counsel or other relevant individuals have been encouraged to telework and

18          minimize personal contact to the greatest extent possible. It will be difficult to avoid personal

19          contact should the hearing proceed.

20                 e)      Based on the above-stated findings, the ends of justice served by continuing the

21          case as requested outweigh the interest of the public and the defendants in a trial within the

22          original date prescribed by the Speedy Trial Act.

23                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

24          et seq., within which trial must commence, the time period from April 21, 2021, to August 18,

25          2021, inclusive, is deemed excludable under 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i),

26          (ii) and (iv) because it results from a continuance granted by the Court at the request of the

27          parties on the basis of the Court’s finding that the ends of justice served by taking such action

28          outweigh the best interest of the public and the defendants in a speedy trial.

      STIPULATION REGARDING EXCLUDABLE TIME               3
30    PERIODS UNDER SPEEDY TRIAL ACT
           Case 1:21-cr-00023-JLT-SKO Document 55 Filed 04/14/21 Page 4 of 5


 1          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5
     Dated: April 13, 2021                                   PHILLIP A. TALBERT
 6                                                           Acting United States Attorney
 7
                                                             /s/ DAVID L. GAPPA
 8                                                           DAVID L. GAPPA
                                                             Assistant United States Attorney
 9
10
     Dated: April 13, 2021                                   /s/ JARED THOMPSON
11                                                           JARED THOMPSON
12                                                           Counsel for Defendant
                                                             JATIN BHAKTA
13

14   Dated: April 13, 2021                                   /s/ CHARLES LEE
                                                             CHARLES LEE
15                                                           Counsel for Defendant
                                                             ROY DREES
16

17

18

19

20
21

22

23

24

25

26
27

28

      STIPULATION REGARDING EXCLUDABLE TIME              4
30    PERIODS UNDER SPEEDY TRIAL ACT
              Case 1:21-cr-00023-JLT-SKO Document 55 Filed 04/14/21 Page 5 of 5


 1

 2

 3

 4

 5

 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:21-CR-00023 NONE-SKO
11
                                   Plaintiff,              FINDINGS AND ORDER
12
                             v.                           DATE: August 18, 2021
13                                                        TIME: 1:00 p.m.
     JATIN BHAKTA                                         COURT: Hon. Sheila K. Oberto
14   ROY DREES,
15                                 Defendants.
16
                                                FINDINGS AND ORDER
17
              The Court has reviewed and considered the stipulation filed by the parties on April 13, 2021, and
18
     also reviewed the record of this case. For the reasons stated in the stipulation the period of time from
19
     April 21, 2021, to August 18, 2021, inclusive, is deemed excludable under 18 U.S.C. §§ 3161(h)(7)(A)
20
     and 3161(h)(7)(B)(i), (ii) and (iv) because it results from a continuance granted by the Court at the
21
     request of the parties on the basis of the Court’s finding that the ends of justice served by taking such
22
     action outweigh the best interest of the public and the defendant in a speedy trial.
23

24 IT IS SO ORDERED.

25

26
     Dated:     April 13, 2021                                     /s/   Sheila K. Oberto             .
                                                        UNITED STATES MAGISTRATE JUDGE
27

28

      STIPULATION REGARDING EXCLUDABLE TIME               5
30    PERIODS UNDER SPEEDY TRIAL ACT
